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       IN THE UNITED STATES DISTRICT COURT FOR THE
              WESTERN DISTRICT OF OKLAHOMA

DAVID BRIAN MORGAN,

     Plaintiff,
V.                                   Case No. CIV-20-494-D

UNITED STATES OF
AMERICA,et al.,

      Defendants.


            ORDER TO AGENCY HAVING CUSTODY OF
        PLAINTIFF FOR PAYMENT OF INMATE FILING FEE

      Plaintiff has been granted leave to bring this action without prepayment

of the full $350 filing fee. See Doc. 18. That order directed Plaintiff, in part,

to make monthly payments of 20 percent of the preceding month's income

credited to his institutional accounts until he has paid the total filing fee of

$350. See id. at 2.

      Consistent with 28 U.S.C. §1915(b)(2), the court directs the officials of

any agency or facility having custody of Plaintiff to collect such payments each

time the amount in Plaintiffs institutional accounts exceeds $10.00 and to

forward such payments to the Clerk of Court at 200 N.W.4th Street, STE 1210,

Oklahoma City, Oklahoma, 73102, until the filing fee is paid in full.

      The Clerk of Court shall send a copy of this order to the facility

currently having custody of Plaintiff and shall not issue process until

further order of the court.
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IT IS SO ORDERED this 16th day of July, 2020.



                            ZANNE MITCHELL
                          UNITED STATES MAGISTRATE JUDGE
